         Case 5:22-cr-40055-TC Document 14 Filed 09/27/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

                   Plaintiff,
 v.                                               Case No. 22-cr-40055-TC

 ROGER GOLUBSKI,

                   Defendant.


                    WITHDRAWAL OF COUNSEL AND
            ENTRY OF APPEARANCE OF SUBSTITUTED COUNSEL

      Pursuant to D. Kan. Rule 83.5.5(c), the undersigned give notice to the Court

and all parties that Thomas G. Lemon of Cavanaugh, Biggs & Lemon, PA withdraws

as counsel for Defendant Roger Golubski and that Christopher M. Joseph, of Joseph,

Hollander & Craft LLC, enters his appearance on behalf of Defendant Roger

Golubski.


                                      Respectfully submitted,


                                      Joseph, Hollander & Craft LLC

                                By:   s/Christopher M. Joseph
                                      Christopher M. Joseph, #19778
                                      1508 S.W. Topeka Boulevard
                                      Topeka, Kansas 66612
                                      (785) 234-3272 Phone
                                      (855) 955-1318 Fax
                                      cjoseph@josephhollander.com




                                        1
         Case 5:22-cr-40055-TC Document 14 Filed 09/27/22 Page 2 of 2




                                 By:    /s/ Thomas G. Lemon
                                        Thomas G. Lemon, #16120
                                        Cavanaugh, Biggs & Lemon, PA
                                        3200 SW Huntoon
                                        Topeka, KS 66604
                                        (785) 440-4000 Phone
                                        tlemon@cavlem.com




                            CERTIFICATE OF SERVICE

       I hereby certify that on September 27, 2022, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system, which will send notice of
electronic filing to all counsel of record.


                                        /s/ Christopher M. Joseph
                                        Christopher M. Joseph




                                           2
